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                                                        August 22, 2018


  Via Electronic Case Filing

  Honorable Ketanji Brown Jackson, U.S.D.J.
  333 Constitution Avenue, NW
  Room 6309
  Washington, DC 20001

  Re:      Association of Independent Pharmaceutical Wholesalers, Inc. v. OptumRx et al.
           Civil Case No. 1:16-cv-2214
           Notice of Settlement

  Dear Judge Brown Jackson:

          The lawsuit has been resolved in principle via a confidential settlement. As such, any
  Opposition to Plaintiff’s Motion for Preliminary Injunction, Document number 56, otherwise due
  yesterday, August 21, 2018, by OptumRx will not be submitted to the Court. As instructed, once the
  settlement is finalized, the parties will submit a stipulated dismissal with prejudice. This letter is
  submitted with the consent of the parties to the lawsuit.

           Thank you.
                                                        Respectfully,

                                                        FRIER & LEVITT, LLC

                                                        s/ Todd Mizeski

                                                        Todd Mizeski, Esq.


TM/rld

cc:      All Counsel of Record via ECF




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